                       Case 3:16-cv-05685-BHS Document 38 Filed 02/15/17 Page 1 of 2



 1                                                                            Honorable Benjamin H. Settle

 2

 3

 4

 5

 6

 7                                 UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
                  LINDA GILMER,                               No. 3:16-cv-05685-BHS
 9
                                        Plaintiff,
10

11                v.                                          PLAINTIFF’S STATUS REPORT

12                CENTENE CORPORATION, et al.,

13                                      Defendants.
14

15                Plaintiff Linda Gilmer had anticipated filing a stipulated motion for voluntary dismissal

16   obviating the need to file a joint status report. The parties could not reach agreement on such
17   stipulation so this week the Plaintiff will be filing a motion for voluntary dismissal.
18

19                                                      Respectfully submitted,

20
                                                        MacDonald Hoague & Bayless
21

22
                                                        /s/ Jesse Wing
23                                                      Jesse Wing      WSBA#27751
                                                        Plaintiff’s counsel
24                                                      jessew@mhb.com
25

26

27


     PLAINTIFF’S STATUS REPORT - 1                                                MACDONALD HOAGUE & BAYLESS
     NO. 3:16-cv-05685-BHS                                                          705 Second Avenue, Suite 1500
                                                                                       Seattle, Washington 98104
                                                                                  Tel 206.622.1604 Fax 206.343.3961
     10905.01 jk201401
                     Case 3:16-cv-05685-BHS Document 38 Filed 02/15/17 Page 2 of 2



 1                                              CERTIFICATE OF SERVICE

 2                I certify that on the date noted below I electronically filed this document entitled

 3   PLAINTIFF’S STATUS REPORT with the Clerk of the Court using the CM/ECF system which

 4   will send notification of such filing to the following persons:

 5

 6   Counsel for Defendants
     Breanne Martell
 7   Douglas Smith
 8   Littler Mendelson PC
     600 University St Ste 3200
 9   Seattle, WA 98101-3122
     bsmartell@littler.com
10   desmith@littler.com
11   Bradley Bakker
12   Jovita Foster
     Armstrong Teasdale LLP
13   7700 Forsyth Blvd Ste 1800
     St. Louis, MO 63105-1810
14   bbakker@armstrongteasdale.com
     jfoster@armstrongteasdale.com
15

16
     Co-Counsel for Plaintiff
17   Lewis Galloway
     LG Law LLC
18   1600 Genessee St Ste 918
     Kansas City, MO 64102
19
     lewis@lglawllc.com
20

21

22

23                DATED this 15th day of February, 2017, at Seattle, Washington.

24
                                                         /s/Jesse wing
25                                                       Jesse Wing, Plaintiff’s Attorney

26

27


     PLAINTIFF’S STATUS REPORT - 2                                                  MACDONALD HOAGUE & BAYLESS
     NO. 3:16-cv-05685-BHS                                                            705 Second Avenue, Suite 1500
                                                                                         Seattle, Washington 98104
                                                                                    Tel 206.622.1604 Fax 206.343.3961
     10905.01 jk201401
